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                     IN THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF IOWA
                               DAVENPORT DIVISION


In Re:                                                       Case No. 06-02229-lmjll

DIOCESE OF DAVENPORT,
                                                           MOTION FOR ADMISSION
                Debtor.                                        PRO HAC VICE


         Robert B. Millner, a lawyer who is not a member of the bar of this district, moves to
appear in this case pro hac vice on behalf of ACE American Insurance Company, an affiliate of
Century Indemnity Company, in its capacity as successor to CCI Insurance Company, as
successor to Insurance Company of North America. Mr. Millner states that he is a member in
good standing of the bar of the following courts: the State of Illinois, the United States District
Court for the Northern District of Illinois, Third Circuit Court of Appeals, Fifth Circuit Court of
Appeals, Sixth Circuit Court of Appeals and Seventh Circuit Courts of Appeals and the United
States Supreme Court, and that he agrees to submit to and comply with all provisions and
requirements of the rules of conduct applicable to lawyers admitted to practice before the state
courts of Iowa in connection with his pro hac vice representation in this case.
         Robert B. Millner further states he will comply with the associate counsel requirements
of LR 83.1.d.4 by associating with Richard K. Updegraff of Brown, Winick, Graves, Gross,
Baskerville and Schoenebaum, P.L.C., a lawyer who has been admitted to the bar of this district
under LR 83.1.b and c and who has entered an appearance in this case on behalf of ACE
American Insurance Company.
                                               /s/ Robert B. Millner
                                               Robert B. Millner, Ill. Bar No. 1922645
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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 22, 2008, a true copy of the foregoing
instrument was served upon each of the attorneys of record of all parties to the above-entitled cause
as follows:
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                                           /s/ Richard K. Updegraff
                                           Richard K. Updegraff, IS9999029




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